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 9
                              UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11
                                   WESTERN DIVISION
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13
     UNITED STATES OF AMERICA,                Case No. 2:20-CR-326-JFW-1
14
                 Plaintiff,                   DEFENDANT’S UNOPPOSED EX
15                                            PARTE APPLICATION TO FILE
           v.                                 SUPPLEMENTAL SENTENCING
16                                            STATEMENT AND EXHIBITS
     JOSÉ LUIS HUIZAR, et al.,                UNDER SEAL
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                 Defendants.
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           Defendant José Luis Huizar, through counsel, hereby seeks an order permitting his
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     supplemental sentencing statement and two letters in support of sentencing be filed under
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     seal. Each of the documents discusses private information relating to Mr. Huizar’s minor
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     children in which the public has no legitimate interest. Mr. Huizar therefore requests that
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     the Court permit him to file these documents under seal. This application is based on the
 6
     attached declaration of counsel. The government does not oppose the application.
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                                            Respectfully submitted,
 9
                                            CUAUHTEMOC ORTEGA
10                                          Federal Public Defender
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           Dated: January 24, 2024          /s/ Adam Olin
12
                                            CHARLES J. SNYDER
13                                          ADAM OLIN
                                            Deputy Federal Public Defender
14                                          Attorneys for José Luis Huizar
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